      CaseD.
     Robert 1:04-cr-05356-AWI
              Wilkinson #100478 Document 362 Filed 11/30/06 Page 1 of 2

 1           B AK E R , M AN O C K & J E N S E N
                  A P RO F ES SI O NA L CO RP ORA TI O N
               F IG G A R D E N F IN A N C IA L C E N T E R
 2         5260 NORTH PALM AVENUE, FOURTH FLOOR
             FRESNO, CALIFORNIA 93704-2209
 3              TE L E P H O N E (559) 432-5400
                TE L E C O P IE R (559) 432-5620

 4
                              Defendant KENNETH EDWARD MATTHEWS
 5   Attorneys for

 6

 7

 8                                                            UNITED STATES DISTRICT COURT

 9                                                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                                 )    Case No.1:04-CR-05356 AWI
                                                                               )
12                                                             Plaintiff,      )
                                                                               )
13             v.                                                              )    STIPULATION TO CONTINUE
                                                                               )    SENTENCING HEARING; AND ORDER
14   KENNETH EDWARD MATTHEWS,                                                  )    THEREON
                                                                               )
15                                                             Defendant.      )
                                                                               )    DATE:     December 18, 2006
16                                                                             )    TIME:     9:00 a.m.
                                                                               )    DEPT.:    Two (2)
17                                                                             )    JUDGE:    Hon. Anthony W. Ishii
                                                                               )
18

19                            WHEREAS counsel for Defendant Kenneth Edward Matthews is currently in a

20   month long trial in the Tulare County Superior Court, and as a result is unable to meet with his

21   client to review the draft Advisory Guideline Presentence Investigation Report before informal

22   objections are due; and.

23                            THE PARTIES HEREBY STIPULATE, by and through their authorized counsel,

24   that the schedule in this matter may be modified as follows:

25                                           1.               The Sentencing Hearing for Defendant shall be continued from

26             December 18, 2006, at 9:00 a.m., to January 29, 2007, at 9:00 a.m., or another date and

27             time thereafter at the convenience of the Court;

28   ///
      Case 1:04-cr-05356-AWI Document 362 Filed 11/30/06 Page 2 of 2

 1                          2.      Informal objections to the draft Presentence Investigation Reports

 2            for Defendant shall be due on January 8, 2007, or three weeks before the continued

 3            sentencing hearing;

 4                          3.      The final Presentence Investigation Reports for Defendant shall be

 5            filed on January 15, 2007, or two weeks before the continued sentencing hearing; and,

 6                          4.      Formal objections and/or sentencing memorandums shall be filed on

 7            January 22, 2007, or one week before the continued sentencing hearing.

 8   DATED: November 27, 2006.                             McGREGOR SCOTT
                                                           UNITED STATES ATTORNEY
 9

10                                                         By /s/ Mark Cullers
                                                           Mark Cullers
11                                                         Assistant U.S. Attorney
                                                           Attorneys for Plaintiff
12

13   DATED: November 27, 2006.                             BAKER, MANOCK & JENSEN

14

15                                                         By /s/ Robert D. Wilkinson
                                                           Robert D. Wilkinson
16                                                         Attorneys for Defendant
                                                           KENNETH EDWARD MATTHEWS
17

18

19                                                 ORDER

20                   Good cause appearing therefor, THE COURT HEREBY ORDERS that the

21   Sentencing Hearing in this matter shall be continued from December 18, 2006, at 9:00 a.m., to

22   January 29, 2007, at 9:00 a.m., and that the dates for serving informal objections to the draft

23   Presentence Investigation Report, filing of the final Presentence Investigation Report, and filing of

24   formal objections and/or sentencing memoranda shall be modified as set forth in the Stipulation

25   above.

26
     IT IS SO ORDERED.
27
     Dated:      November 27, 2006                      /s/ Anthony W. Ishii
28   0m8i78                                       UNITED STATES DISTRICT JUDGE


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